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  IN THE DISTRICT COURT OF THE UNITED STATES FOR THE

        MIDDLE DISTRICT OF ALABAMA, NORTHERN DIVISION


UNITED STATES OF AMERICA            )
                                    )       CRIMINAL ACTION NO.
        v.                          )           2:21cr49-MHT
                                    )
WILLIAM RICHARD CARTER,             )
JR.                                 )

                                  ORDER

    Pursuant to the agreement of the parties set forth

in defendant William Richard Carter, Jr.’s unopposed

statement       regarding      forfeiture   allegation      resolution

(Doc.        243),   it   is     ORDERED    that    the     forfeiture

allegations in the indictment (Doc. 1) will be resolved

by the court without the jury after the verdict, if

resolution is necessary.

    DONE, this the 25th day of January, 2022.

                                     /s/ Myron H. Thompson
                                  UNITED STATES DISTRICT JUDGE
